              IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                            AT CHATTANOOGA




 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )       No. 1:07-CR-84
                                               )
 ANDREW SUMMERS                                )




                           MEMORANDUM AND ORDER


              This criminal defendant is before the court on his motion for a

 continuance of his change-of-plea hearing [doc. 575]. He says that he needs

 additional time to arrange for the refinancing or sale of his property in order to

 meet his forfeiture obligations, and he is undergoing outpatient surgery and will

 require some time to recuperate. The government does not oppose a brief

 continuance.

              The court finds the defendant’s motion well taken. The court finds

 that the ends of justice served by a continuance outweigh the best interest of the

 public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A). The failure

 to grant a short continuance would deny the defendant an opportunity to meet his

 forfeiture obligations and take care of some medical problems before being taken

 in to custody, keeping in mind the defendant’s intent to plead guilty. 18 U.S.C.




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 § 3161(h)(8)(B)(iv). The court finds that all the time from the filing of the motion

 until the new plea date is excludable time within the meaning of the Speedy Trial

 Act. 18 U.S.C. § 3161(h)(8)(A).

              Therefore, it is hereby ORDERED that the defendant’s motion is

 GRANTED, and the hearing for the entry of the defendant’s guilty plea is

 CONTINUED to Friday, March 28, 2008, at 2:15 p.m. in Chattanooga.



                                               ENTER:



                                                      s/ Leon Jordan
                                               United States District Judge




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